 Fill in this information to identify the case:

 Debtor 1               Anthony J. Oliveri, Jr
                       __________________________________________________________________

                       Debra Lynn Oliveri
 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            MIDDLE                           PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
  Case number           5:23-bk-02286-MJC                 ________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                               12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Citizens Bank, N.A.                                                                                      7
 Name of creditor: _______________________________________                               Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          4794 ____ ____ ____
                                                         ____                            Must be at least 21 days after date           02/21/2024
                                                                                         of this notice                                     _______

                                                                                         New total payment:
                                                                                         Principal, interest, and escrow, if any
                                                                                                                                   $     860.33

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       X
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                           New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
       X   No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?

            No
       X
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
                                      Consistent with the terms and conditions of the home equity line of credit variable rate note
                   Reason for change: ___________________________________________________________________________________

                       Current mortgage payment: $
                                                      791.15                           New mortgage payment:        $860.33
Official Form 410S1                                          Notice of Mortgage Payment Change                                               page 1

           Case 5:23-bk-02286-MJC                     Doc Filed 01/31/24 Entered 01/31/24 08:05:16                                       Desc
                                                      Main Document   Page 1 of 7
Debtor 1         Anthony J. Oliveri, Jr
                 _______________________________________________________
                 First Name      Middle Name               Last Name
                                                                                                Case number (if known) __5:23-bk-02286-MJC______________



 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.
      X
           I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.


                                                                                                          01/31/24
      /s/ Andrew M. Lubin
     _____________________________________________________________                              Date    ____/_____/________
     Signature




 Print:              Andrew M. Lubin
                    _________________________________________________________                   Title    Attorney for creditor
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company             McCabe, Weisberg & Conway, LLC
                    _________________________________________________________



 Address             1420 Walnut Street, Suite 1501
                    _________________________________________________________
                    Number                 Street

                     Philadelphia, PA 19102
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone        215
                    (______)  790
                             _____–   1010
                                    _________                                                          ecfmail@mwc-law.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                            page 2

          Case 5:23-bk-02286-MJC                             Doc Filed 01/31/24 Entered 01/31/24 08:05:16                                     Desc
                                                             Main Document   Page 2 of 7
                          UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
In re: Anthony J. Oliveri, Jr and Debra Lynn      Chapter 13
       Oliveri
                      Debtor(s)                   Bankruptcy No. 5:23-bk-02286-MJC
Citizens Bank, N.A., or its Successor or Assignee
                      Movant

              vs.

Anthony J. Oliveri, Jr and Debra Lynn Oliveri
Jack N Zaharopoulos
                       Respondent(s)


 CERTIFICATION OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE

       I, Andrew M. Lubin, attorney for Citizens Bank, N.A., hereby certify that I served a true
and correct copy of the foregoing Notice of Mortgage Payment Change, by United States Mail,
first class, postage prepaid, and/or electronic means, upon the following:
Date Served: 01/31/24


Anthony J. Oliveri, Jr           Michael A. Cibik                  Jack N Zaharopoulos
105 Carverton Road               Cibik Law, P.C.                   Standing Chapter 13 Trustee
Trucksville, Pennsylvania        1500 Walnut Street                8125 Adams Drive, Suite A
18708-1746                       Suite 900                         Hummelstown, Pennsylvania
                                 Philadelphia, PA 19102            17036
Debra Lynn Oliveri               Attorney for Debtors              Trustee
105 Carverton Road
Trucksville, Pennsylvania
18708-1746


United States Trustee
US Courthouse
1501 N. 6th St
Harrisburg, PA 17102
                                      /s/ Andrew M. Lubin
                                      MARISA MYERS COHEN, ESQUIRE ID #87830
                                      ANDREW M. LUBIN, ESQUIRE ID # 54297
                                      Attorney for Citizens Bank, N.A.
                                      1420 Walnut Street, Suite 1501
                                      Philadelphia, PA 19102
                                      Telephone: (215) 790-1010
                                      Facsimile: (215) 790-1274
                                      Email: ecfmail@mwc-law.com




 Case 5:23-bk-02286-MJC         Doc Filed 01/31/24 Entered 01/31/24 08:05:16               Desc
                                Main Document   Page 3 of 7
                        MSP Explorer - Bill Statement (BLST)
                                      293 - CITIZENS

                                                                                DATE 01/26/24
   TIME 17:10:09                ELOC BILL STATEMENT


---------------- K E E P      F O R     Y O U R        R E C O R D S -----------------
                 K E E P      F O R     Y O U R        R E C O R D S

LOAN NUMBER:                                           ACCOUNT NUMBER:   ****

 BILLING       CREDIT    AVAILABLE       PAST DUE            MINIMUM      TOTAL DUE
    DATE        LIMIT       CREDIT                           PAYMENT
01-24-24        85000            0                            860.33


------------------------------ S U M M A R Y -------------------------------
                               S U M M A R Y
    PREVIOUS        CHARGES       INTEREST       PAYMENTS   CREDIT/DEBIT
     BALANCE       AND FEES        CHARGES    AND CREDITS     ADJUSTMENT
    79658.92            .00         463.68            .00            .00

                                                         NEW BALANCE:      80122.60


PF: 1 SC F




                                                                                         Page 1 of 1


Case 5:23-bk-02286-MJC     Doc Filed 01/31/24 Entered 01/31/24 08:05:16              Desc
                           Main Document   Page 4 of 7
                     MSP Explorer - Bill Statement (BLST)
                                 293 - CITIZENS

                                                                    DATE 01/26/24
   TIME 17:10:09              ELOC BILL STATEMENT

--------------------- I N T E R E S T   C H A R G E S ---------------------
                      I N T E R E S T   C H A R G E S
              FROM DAYS DAILY BALANCE DAY/MTHLY RT ANNUAL RT    INT CHARGES
Curr Month 12/23/23 33       66,441.79   0.0211475    7.74000        463.68
           Total Days    33   Total Interest Charges:                463.68




     66441.79   Average Daily Balance      7.74000 Annual Percentage Rate

-------------------- P A Y M E N T      B R E A K D O W N --------------------
                     P A Y M E N T      B R E A K D O W N
         PAYMENT ELEMENT                          AMOUNT
         PAYMENT ELEMENT                          AMOUNT
         Minimum Payment Due                      860.33
         Principal                                396.65
         Interest                                 463.68


PF: 1 SC F 2 SC B




                                                                                 Page 1 of 1


Case 5:23-bk-02286-MJC   Doc Filed 01/31/24 Entered 01/31/24 08:05:16       Desc
                         Main Document   Page 5 of 7
                       MSP Explorer - Bill Statement (BLST)
                                   293 - CITIZENS

                                                                         DATE 01/26/24
   TIME 17:10:09                ELOC BILL STATEMENT


------------------

Anthony J Oliveri Jr
PO Box 1774
Shavertown              PA 18708 0774

LOAN NUMBER 8000054794                              ACCOUNT NUMBER:

    PREVIOUS    NEW BALANCE          TOTAL             AMOUNT   FOR PAYMENT
     BALANCE                           DUE           ENCLOSED   DUE:
    79658.92         80122.60                       $________   02-21-24




PF: 1 SC F 2 SC B




                                                                                  Page 1 of 1


Case 5:23-bk-02286-MJC    Doc Filed 01/31/24 Entered 01/31/24 08:05:16        Desc
                          Main Document   Page 6 of 7
                    MSP Explorer - Bill Statement (BLST)
                                 293 - CITIZENS

                                                                  DATE 01/26/24
   TIME 17:10:09             ELOC BILL STATEMENT




PF:        2 SC B




                                                                           Page 1 of 1


Case 5:23-bk-02286-MJC   Doc Filed 01/31/24 Entered 01/31/24 08:05:16   Desc
                         Main Document   Page 7 of 7
